Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 9:18-CV-80176-BLOOM/REINHART

  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and W&K INFO
  DEFENSE RESEARCH, LLC,

         Plaintiffs,
  v.

  CRAIG WRIGHT,

        Defendant.
  _____________________________________/

               GREENBERG TRAURIG, P.A.’S RESPONSE IN OPPOSITION
                 TO PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT
                FOR FAILURE TO ANSWER WRIT OF GARNISHMENT

         Greenberg Traurig, P.A. files this response in opposition to Plaintiff’s Motion for Entry of

  Default Against Garnishee, Greenberg Traurig, P.A. (“GT”) for Failure to Answer Writ of

  Garnishment, [ECF No. 1068] (“Motion”), and states as follows:

                                         BACKGROUND

         1.      Plaintiff’s Motion should be denied. GT was never served with any writ of

  garnishment against it. The face of the Motion and attached exhibits confirm this.

         2.      The Motion arises from two flawed factual premises: (1) “On August 16, 2023, the

  Court entered an order granting Plaintiff’s motion for a Writ of Garnishment directed to Greenberg

  Traurig PA, Defendant’s counsel of record,” which Plaintiff refers to as “Garnishee”; and (2) “On

  August 17, 2023, [the] Writ of Garnishment was served upon the Garnishee by a process server.”

  Mot. ¶¶ 3-4 (emphases added). Neither of those assertions are true.

         3.      Instead, Plaintiff moved for a writ of garnishment on and attempted to serve

  Greenberg Traurig LLP, an entity that does not exist in Florida.



                                                  1
Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 2 of 6




         4.      Despite Plaintiff’s representations in the Motion as to “Greenberg Traurig PA”

  Exhibit 2 to the Motion makes clear that the writ of garnishment Plaintiff requested from the

  Southern District of Florida’s Clerk was issued to the incorrect entity, “Greenberg Traurig LLP”:




  Mot. Ex. 2.

         5.      Similarly, despite Plaintiff’s representation to the Court that “Greenberg Traurig

  PA” was served, the Affidavit of Service attached to the Motion as Exhibit 3 reflects that service

  was attempted on “Greenberg Traurig, LLP”:




  Mot. Ex. 3.

         6.      Worse, just two days later, on August 18, 2023, Plaintiff’s counsel received a

  “Notice of Rejected Service of Process” response from C T Corporation System informing Plaintiff

  that it had served the wrong entity, and thus that no one would be notified of service:




                                                   2
Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 3 of 6




  Exhibit A (Aug. 18, 2023 Letter from C T Corporation to Pl.’s Counsel Devin Freedman, Esq.).

  Thus, GT’s registered agent rejected the service and GT was never served.

          7.     Because Greenberg Traurig, P.A. was never served with any writ, much less a valid

  writ issued to Greenberg Traurig, P.A., undersigned counsel received no notice of the writ until

  Plaintiff’s counsel informed undersigned counsel of the writ on an unrelated meet and confer call

  over five months later, on January 23, 2024. See Mot. Ex. 4. Plaintiff’s counsel forwarded the

  writ to undersigned counsel that same day, which was the first time undersigned counsel had ever

  seen it. Id.

          8.     Without further conferring with undersigned counsel, Plaintiff filed the Motion on

  February 20, 2024 on the basis of the two aforementioned erroneous representations.

                                           ARGUMENT

          9.     The Motion must be denied at the threshold because it is against Greenberg Traurig,

  P.A. and is based on a writ of garnishment that was neither directed to nor served upon Greenberg

  Traurig, PA.




                                                  3
Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 4 of 6




          10.     As Plaintiff acknowledges in the Motion: “Because Florida’s Garnishment Statute

  is in derogation of common law, its requirements must be strictly construed and complied with in

  accordance with legislative intent.” Mot. at 4 (citing Noland Co. v. Linning, 132 So. 2d 803 (Fla.

  1st DCA 1961)). One of the requirements that must be strictly complied with under Florida’s

  Garnishment Statute is proper service in the proper manner on the correct entity. See, e.g., Fla.

  Stat. § 77.041; Highland Consulting Grp., Inc. v. Soule, No. 19-CV-81636-REINHART, 2022 WL

  3155090, at *1 (S.D. Fla. June 30, 2022) (“It is well settled that the service requirements in

  Florida’s garnishment statutes are to be ‘strictly construed.’” (citing Little Brownie Properties,

  Inc. v. Wood, 328 So. 3d 1049, 1050 (Fla. 5th DCA 2021)).

          11.     The Garnishment Statute’s strict service requirements accordingly do not permit

  arguments of “substantial compliance or lack of prejudice.” Id.; see also BGX E-Health LLC v.

  Masters, No. 6:21-CV-1022, 2023 WL 6794281, at *2 (M.D. Fla. Oct. 13, 2023) (denying motion

  for entry of final garnishment judgment where plaintiff served the wrong registered agent, noting

  that the service requirements of “Fla. Stat. § 77.041(2) [and] Fla. Stat. § 77.055 . . . must be strictly

  construed”); Art Remedy LLC v. Lana Moes Art, LLC, No. 18-CV-61912, 2020 WL 6800449, at

  *2 (S.D. Fla. Nov. 19, 2020) (“Plaintiff’s failure to serve the requisite garnishment papers on

  Defendants . . . in the manner provided for under Chapter 77 of the Florida Statutes requires

  dissolution of the Writ of Garnishment. . . . [S]ervice on counsel alone is legally insufficient.”);

  Five for Ent., S.A. v. Rodriguez, No. 11-CV-24142, 2015 WL 13642469, at *2 (S.D. Fla. Sept. 2,

  2015) (“Given that Florida law requires garnishment statutes to be strictly construed . . . Plaintiffs’

  failure to comply with the statutory notice requirements of § 77.041 and § 77.055 is fatal.”

  (citations omitted)), report and recommendation adopted, 2015 WL 13642467 (S.D. Fla. Sept. 17,




                                                     4
Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 5 of 6




  2015). 1

             12.   Because Plaintiff did not serve a writ directed to Greenberg Traurig, P.A. on

  Greenberg Traurig, P.A. as required by Florida Statute Section 77.041, the Motion must be denied.

  Greenberg Traurig, P.A. reserves all substantive responses and defenses to any writ of garnishment

  that Plaintiff may attempt to properly serve on Greenberg Traurig, P.A. in the future.

                                           CONCLUSION

             For the reasons stated above, the Court should deny the Motion and award Greenberg

  Traurig P.A. its attorneys’ fees incurred in having to respond to the Motion, given that the lack of

  any good faith argument for strict compliance with the service requirements of Section 77.041 is

  self-evident from the face of the Motion, and Plaintiff’s counsel was notified by letter back in

  August 2023 that service of process on “Greenberg Traurig, LLP” had been rejected. See Ex. A.



  Dated: February 27, 2024                             Respectfully submitted,

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                                                       By:     /s/James E. Gillenwater
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   Independent of attempting service on the incorrect entity, Plaintiff has also failed to comply with
  additional requirements of Section 77.041. Among other failings, Plaintiff does not state in the
  Motion that it ever mailed a “copy of the motion for writ of garnishment” to Defendant, or that it
  ever filed a “certificate of service ... with the Court indicating that garnishment documents had
  been served.” See Matter of Arb. Between Tradewinds Ltd. v. Grupo Dolphin Discovery, No. 1:17-
  CV-23070-KMM, 2021 WL 3781931, at *2 (S.D. Fla. Aug. 24, 2021) (citing Fla. Stat. § 77.041).
  These failings “alone warrants dissolution of the Writ of Garnishment.” Grupo Dolphin
  Discovery, 2021 WL 3781931, at *2.


                                                   5
Case 9:18-cv-80176-BB Document 1070 Entered on FLSD Docket 02/27/2024 Page 6 of 6




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                                                               Counsel for Defendant Craig Wright


                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of February, 2024, I electronically filed the

  foregoing with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record identified below either via transmission of Notices

  of Electronic Filing generated by CM/ECF, or in some other authorized manner for those counsel

  or parties who are not authorized to receive Notices of Electronic Filing.




                                                               /s/James E. Gillenwater
                                                               JAMES E. GILLENWATER




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